Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 1 of 15 PageID 242



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


   EQUAL EMPLOYMENT
   OPPORTUNITY COMMISSION,

         Plaintiff,

   v.                                              Case No. 3:17-cv-241-J-32JBT

   CRST INTERNATIONAL, INC. and
   CRST EXPEDITED, INC.,

         Defendants.




                                     ORDER

         This Americans With Disabilities Act case is before the Court on

   Defendants CRST Expedited, Inc. and CRST International, Inc.’s (collectively,

   “CRST”) Motion to Dismiss for Improper Venue or Alternatively to Transfer

   This Case to the Northern District of Iowa. (Doc. 28). Plaintiff Equal

   Employment Opportunity Commission (“EEOC”) filed a response in opposition.

   (Doc. 29).

   I.    BACKGROUND

         Leon J. Laferriere is a United States military service veteran whose

   psychiatrist prescribed an emotional support dog to help him cope with his post-

   traumatic stress and mood disorders. (Doc. 19 ¶ 15). In May 2015, Laferriere
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 2 of 15 PageID 243



   applied online for a position as a long-haul truck driver with CRST,

   headquartered in Cedar Rapids, Iowa. (Doc. 21-1). As part of CRST’s driver

   training program, applicants without experience must first attend driving

   school to earn a commercial driver’s license. (Doc. 8 ¶ 7). Once the applicant

   completes driving school and orientation at a CRST facility, he is hired and then

   must drive with another, more experienced lead driver to complete on-the-road

   training. (Id.).

         Nichole Moreland, a CRST recruiter for driver development, conducted a

   phone interview from Cedar Rapids with Laferriere, who lives in Fort Myers,

   Florida. (Id.). When Laferriere applied, he was not an experienced truck driver

   and did not have a commercial driver’s license; therefore, after he signed a Pre-

   Employment Driver Training Agreement, CRST issued Laferriere a conditional

   offer of employment and sent him to complete a driver training course at J-Tech

   Institute (“J-Tech”) in Jacksonville as a step in the hiring process.1 (Doc. 19 ¶

   16; Doc. 32 at 3-4; Doc. 21-7; Doc. 8 ¶ 10). After completing training at J-Tech,

   Laferriere would continue to orientation at CRST’s Oklahoma City, Oklahoma

   facility. (Doc. 21-7).

         Before he attended driver training, Laferriere informed Moreland that he

   wanted to bring his service dog on the truck. (Doc. 8 ¶ 8). Moreland explained


         1 CRST partners with J-Tech to train its Florida driver candidates. CRST
   states that J-Tech is not affiliated with CRST.


                                          2
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 3 of 15 PageID 244



   that CRST could not force Laferriere’s lead driver to take the dog on the truck

   when it came time to complete his over-the-road training. (Id.). Conveniently,

   however, Laferriere’s brother is an experienced truck driver, and Moreland

   arranged for him to work for CRST and train Laferriere during the over-the-

   road training period. (Id. ¶ 9). After Laferriere completed his driver training,

   Moreland learned that his brother had decided not to work for CRST, and she

   contacted Marcus Schneider, CRST’s Director of Capacity Development, to

   formulate an alternate arrangement. (Id. ¶ 12). On June 12, 2015, Schneider

   contacted Laferriere from Cedar Rapids to devise a plan; however, when they

   could not immediately develop one, CRST provided Laferriere with a bus ticket

   home from Jacksonville to Fort Myers, until arrangements could be made. (Doc.

   9 ¶ 6). Ultimately, CRST did not hire Laferriere. (Id. ¶ 8). However, had

   Laferriere successfully completed orientation in Oklahoma City and been hired,

   he would have been dispatched onto a truck for over-the-road training from

   Oklahoma City and supervised by a driver manager located in Cedar Rapids.

   (Id.).

            In August 2015, Laferriere filed a Charge of Discrimination with the

   Milwaukee, Wisconsin Area Office of the EEOC, alleging that CRST

   discriminated against him on the basis of disability, denied him a reasonable

   accommodation, denied him hire, and retaliated against him in violation of the

   ADA. (Doc. 21-1; Doc. 22). Following the failure of informal conciliation efforts,


                                           3
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 4 of 15 PageID 245



   the EEOC filed this lawsuit, seeking individualized relief on Laferriere’s behalf

   and injunctive relief that will benefit other employees. In the Amended

   Complaint, filed on May 17, 2017, the EEOC alleges that CRST has engaged in

   unlawful employment practices in Jacksonville and Fort Myers in violation of

   Section 102(a) of Title I of the ADA, 42 U.S.C. § 12112(a), and Section 503 of

   Title V of the ADA, 42 U.S.C. § 12203. (Doc. 19 ¶ 14). Because the unlawful

   employment practices were allegedly committed within this District, the EEOC

   argues that venue here is proper. (Id. ¶ 2).

         On June 15, 2017, CRST filed a motion to dismiss or transfer, arguing

   that the EEOC has failed to allege that: any unlawful employment practices

   occurred in this District; CRST maintains employment records here; or

   Laferriere would have worked out of this District. (Doc. 28). In response, the

   EEOC argues that venue here is proper, as the complaint contains allegations

   stating that: CRST’s unlawful employment practices partly occurred in this

   District; relevant documents are maintained here; and it is likely that

   Laferriere would have worked in this District.2 (Doc. 32).




         2 In the Amended Complaint, the EEOC only alleges venue is proper
   under the first prong, but its response addresses the first three prongs of the
   statute. (Doc. 19 ¶ 2; Doc. 32).


                                           4
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 5 of 15 PageID 246



   II.   LAW

         The ADA, as amended, borrows its jurisdiction and venue provisions from

   Title VII of the Civil Rights Act of 1964. See Bell v. United Air Lines, Inc., No.

   11-61393-CIV, 2011 WL 11048116, at *2 (S.D. Fla. Nov. 30, 2011). Title VII’s

   venue provision states, in relevant part, that the appropriate venue for Title

   VII claims is:

               any judicial district in the State in which the unlawful
               employment practice is alleged to have been
               committed, in the judicial district in which the
               employment records relevant to such practice are
               maintained and administered, or in the judicial district
               in which the aggrieved person would have worked but
               for the alleged unlawful employment practice, but if the
               respondent is not found within any such district, such
               an action may be brought within the judicial district in
               which the respondent has his principal office.

   42 U.S.C. § 2000e–5(f)(3). “The venue provisions of § 2000e–5(f)(3) were

   intended to be the exclusive venue provisions for Title VII employment

   discrimination actions and that the more general provisions of § 1391 are not

   controlling in such cases.” Pinson v. Rumsfeld, 192 F. App’x 811, 816-17 (11th

   Cir. 2006) (citing Stebbins v. State Farm Mut. Auto. Ins. Co., 413 F.2d 1100,

   1102–03 (D.C. Cir. 1969) (per curiam)).

         Once the defendant challenges venue under Rule 12(b)(3), Fed. R. Civ. P.,

   the plaintiff has the burden of showing that venue in the forum is proper. Id.

   (citation omitted). “The court must accept all allegations of the complaint as




                                           5
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 6 of 15 PageID 247



   true, unless contradicted by the defendants’ affidavits.” Bell, 2011 WL

   11048116, at *1 (citations omitted). “When an allegation of the complaint is

   challenged, the court may examine facts outside of the complaint to determine

   whether venue is proper.” Id. The court must draw all reasonable inferences

   and resolve all factual conflicts in favor of the plaintiff. Id.

   III.   ANALYSIS

          A.      Propriety of Venue

          The first statutory basis for venue focuses on the district in which the

   unlawful practice was committed. See 42 U.S.C. § 2000e–5(f)(3). CRST argues

   that venue here is not proper under this prong, as the allegedly unlawful

   employment practices occurred in Iowa. (Doc. 28 at 8-16). In support, CRST

   provides the Declarations of Nichole Moreland and Morris Schneider. (Docs. 8

   & 9); see Dubovik-Sileo v. Holder, No. 12-80351-CIV, 2013 WL 3928225, at *3

   (S.D. Fla. July 29, 2013) (noting that it is appropriate for the court to consider

   facts from supporting affidavits relative to the venue issue). Moreland explains

   that all of her contact with Laferriere, including her review of his online

   application,    discussions      regarding   the   driver   training   program,   and

   communications regarding the plan for Laferriere’s brother to drive with him

   and his dog, occurred from her office in Cedar Rapids. (Doc. 8). Similarly,

   Schneider      conducted   all    of   his   communications     regarding   alternate

   arrangements for Laferriere from his office in Cedar Rapids. (Doc. 9).


                                                6
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 7 of 15 PageID 248



         The EEOC does not dispute these facts. Instead, the EEOC alleges that

   the unlawful employment practices in this case “consist of a series of events that

   involve conduct both in Iowa and in Florida.” (Doc. 32 at 5). The “events” in

   Florida include: Laferriere’s review of the job description for the position; his

   completion of his job application; participation in telephone and email

   communications with CRST; attending driving school in Jacksonville at CRST’s

   direction; requesting a reasonable accommodation while in Florida; and

   objecting to CRST that its no-pet policy was discriminatory.3 (Id. at 6) (citing

   Doc. 19 ¶¶ 14-21). The EEOC also argues that “other significant decisions and

   events occurred in Florida,” including Laferriere’s treatment for the disability

   at issue. (Id. at 8).

         The Eleventh Circuit has not considered this prong of the venue statute

   in Title VII cases.4 However, courts examining this aspect of the statute have


         3 While the EEOC cites the Amended Complaint to support its list of
   events allegedly occurring in Florida, the complaint itself does not specifically
   allege the location in which most of these acts occurred. The complaint alleges
   that Laferriere’s psychiatrist treated him in Florida, (Doc. 19 ¶ 15), that CRST
   sent him to driver training in Florida, (Id. ¶ 16), and that CRST retaliated
   against Laferriere by rescinding its offer of employment and sending Laferriere
   home to Fort Myers from driving school in Jacksonville, (Id. ¶ 18). No other
   allegations specify the location in which the acts occurred, leaving it to the
   Court to piece together the locations from exhibits submitted in connection with
   the prior motion to dismiss and other supporting exhibits.
         4 The EEOC concedes as much, (Doc. 32 at 14), and neither party has
   cited Eleventh Circuit authority that addresses prong one of the statute. As of
   the date of this Order, neither party has filed any supplemental authority
   suggesting the Eleventh Circuit has opined on the issue. Therefore, the Court

                                           7
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 8 of 15 PageID 249



   noted that “[t]he plain language of this prong focuses on ‘the place where the

   decisions and actions concerning the employment practices occurred,’ not the

   location where a plaintiff received notice of [defendant’s] conduct or suffered

   from its effects.” Moore v. City of Kankakee, No. 14-CV-5440, 2015 WL 2455116,

   at *2 (N.D. Ill. May 22, 2015) (citing Hayes v. RCA Serv. Co., 546 F. Supp. 661,

   664 (D.D.C. 1982); Cox v. Nat’l Football League, 1997 WL 619839, at *2 (N.D.

   Ill. Sept. 29, 1997); Kapche v. Gonzales, 2007 WL 3270393, at *4 n.4 (S.D. Tex.

   Nov. 2, 2007) (“Under the plain language of section 2000e–5(f)(3), the location

   where improper discriminatory conduct occurs rather than where its effects are

   felt is where venue properly lies.”)). In fact, in another refusal to hire case in

   this Circuit, the court dismissed a case for improper venue, noting that

   “Plaintiff has neither alleged nor produced any evidence suggesting that the

   practice of denying her the job position in Chicago took place in the Southern

   District of Florida.” Dubovik-Sileo, 2013 WL 3928225, at *4 (emphasis added).

   Thus, the court focused on the location in which the unlawful practice took

   place, not where the plaintiff was located when she received the information.

   Similarly, in another refusal to hire case, the court examined the first prong

   and noted that “under the plain, unambiguous language of the statute, venue

   is proper only where the unlawful employment practice is alleged to have been


   must consider other persuasive authority in determining the proper venue in
   this case.


                                           8
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 9 of 15 PageID 250



   committed, regardless of where its effects are felt.” Whipstock v. Raytheon Co.,

   2007 WL 2318745, at *3 (E.D. Mich. Aug. 10, 2007). The Whipstock court

   concluded that venue was only proper where the plaintiff alleged the defendant

   “made the decision not to hire him because of his wife’s national origin.” Id.

   Other courts in this Circuit have reached similar conclusions in cases involving

   decisions not to hire. See, e.g., Harrington v. Howard Transp., Inc., No. CIV.A.

   12-0078-WS-C, 2012 WL 1899850, at *3 (S.D. Ala. May 23, 2012) (venue was

   improper under prong one because plaintiff only alleged the unlawful practice

   was committed in the district because its effects were “felt” there).

         In support of its argument for keeping this case in the Middle District of

   Florida, the EEOC relies heavily on Passantino v. Johnson & Johnson

   Consumer Products, a case in which the Ninth Circuit explained that “[i]n

   general, the effect of Title VII’s venue provision is to allow suit in the judicial

   district in which the plaintiff worked or would have worked . . . venue should

   [also] be found where the effect of the unlawful employment practice is felt:

   where the plaintiff works, and the decision to engage in that practice is

   implemented.” 212 F.3d 493, 504-05 (9th Cir. 2000). The Eleventh Circuit has

   not addressed Passantino’s analysis of prong one, and only two district courts

   in the Circuit have truly grappled with it. See Harrington, 2012 WL 1899850,

   at *3; Shipley v. Hypercom Corp., No. 1:09-CV-0265-CAP-RGV, 2009 WL

   10664453, at *4-5 (N.D. Ga. May 28, 2009), report and recommendation


                                           9
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 10 of 15 PageID 251



    adopted, No. 1:09-CV-265-CAP-RGV, 2009 WL 10664670 (N.D. Ga. June 16,

    2009). 5 The Court is persuaded by the reasoning in Harrington v. Howard

    Transportion, Inc., another refusal to hire case, which distinguishes Passantino

    because the relevant portion of that case addressing prong one

                   extends only to existing employees, and it covers
                   situations such as the one at issue there: a decision
                   made in one state about an existing employee in
                   another state. Since the plaintiff characterizes the
                   defendant’s employment decision as a “refusal to hire,”
                   and admits that she never worked for the defendant,
                   she cannot invoke this prong of the first statutory
                   basis.6

    Harrington, 2012 WL 1899850, at *3 (citing Soliman v. L–3 Commc’ns Corp.,

    2008 WL 5383151 at *5 (N.D. Cal. 2008) (refusing to extend Passantino to allow

    “anyone who applies for and is denied employment from anywhere in the

    country [to] hale the employer to the plaintiff’s home district to litigate”)). The

    Harrington court concluded that because the plaintiff did not fall within



           5 Shipley agrees with Passantino, finding that the “defendant’s
    contention that an unlawful employment practice occurs only where the
    challenged employment decision is made [was] unpersuasive.” Shipley, 2009
    WL 10664453, at *4. The court concluded that venue was appropriate in the
    Northern District of Georgia because it is the judicial district where the plaintiff
    worked and where the unlawful employment practices occurred. Id. at *5.
    However, Shipley is distinguishable from this case because the court heavily
    relied on the fact that the plaintiff was actually employed by the defendant and
    worked in the district. This case involves a decision not to hire; Laferriere never
    worked for CRST in this District, and thus Shipley is inapposite.
           6   Notably, the EEOC does not address Harrington in its response. (Doc.
    32).


                                             10
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 11 of 15 PageID 252



    Passantino, it need not decide whether to follow that decision. Id. at *3 n.6.

    Here, the Court also finds that Passantino does not apply, as this case involves

    a decision not to hire, as opposed to an employment action against an existing

    employee.

          The EEOC’s argument that “significant decisions and events,” which

    comprise the allegedly unlawful employment practice occurred in Florida

    establish venue here, is unavailing. “The plain language of § 2000e-5(f)(3)

    permits a suit to be brought in any judicial district in the state in which the

    unlawful employment practice was committed, not in any judicial district in the

    state where the effects of the unlawful employment practice were felt.” EEOC

    v. Store Opening Sols., Inc., No. 3:09-CV-63-JTC, 2010 WL 11515507, at *2

    (N.D. Ga. Mar. 8, 2010) (citing Russell-Brown v. Univ. of Fla. Bd. of Trs., 2009

    WL 4798230, at *2-3 (D.N.J. Dec. 7, 2009)); Thomas-Williams v. MGM Grand

    Detroit LLC, 2009 U.S. Dist. LEXIS 27699, at *15 (E.D. Mich. Mar. 31, 2009).

    While the EEOC alleges generally that CRST committed unlawful employment

    practices in Jacksonville and Fort Myers, (Doc. 19 ¶¶ 2, 14), no specific facts

    support this conclusory allegation. The EEOC has neither alleged nor produced

    any evidence suggesting that the practice of denying Laferriere the position in

    Oklahoma City took place in the Middle District of Florida. See Dubovik-Sileo,

    2013 WL 3928225, at *4 (dismissing case for improper venue). The acts the

    EEOC references that occurred in Florida, such as Laferriere’s psychiatric


                                          11
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 12 of 15 PageID 253



    treatment for the disability, the request for an accommodation, and his

    opposition to CRST’s no-pet policy, are not unlawful employment practices; they

    merely comprise the events leading up to the allegedly unlawful employment

    practice. Rather, it was the decision not to hire Laferriere because of his

    disability that is allegedly unlawful and took place in Cedar Rapids. By

    incorporating Laferriere’s location and actions, the EEOC has improperly

    shifted the statute’s focus from the district in which the unlawful act was

    committed to the place where Laferriere lived when applying for the job and

    where he eventually received notice of the allegedly unlawful act.7 See Moore,

    2015 WL 2455116, at *2. Although some courts have considered “material

    events” related to the underlying claims of discrimination that contributed to

    the ultimate decision relevant to the inquiry, see, e.g., Jones v. Hagel, 956 F.

    Supp. 2d 284, 289 (D.D.C. 2013), this inquiry is not appropriate under the facts

    of this case. Therefore, the EEOC cannot establish that venue here is proper

    under the first prong.

          The Amended Complaint only alleges venue is applicable in this District

    under the first prong; the EEOC fails to allege facts stating that the

    employment records are maintained in this District, or that this is the judicial



          7 The EEOC concedes that Laferriere’s residence in Fort Myers does not
    establish venue in this District and states that it is not making this argument.
    (Doc. 32 at 10 n.3).


                                          12
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 13 of 15 PageID 254



    district in which Laferriere would have worked but for CRST’s unlawful acts.

    (Doc. 19 ¶ 2). Therefore, the Court need not discuss these aspects of venue.8

          B.    Transfer or Dismissal

          Having found venue improper, the Court now considers whether to

    dismiss the case or transfer it. Section 1406(a) permits transfer to a venue

    where an action could have been brought and where it is in the interests of

    justice. 28 U.S.C. § 1406(a). The interests of justice generally require

    transferring an action brought in an improper venue instead of dismissing it.

    See Goldlawr, Inc. v. Heiman, 369 U.S. 463, 466–67 (1962). The decision

    whether to dismiss or instead to transfer a case under § 1406(a) is left to the

    sound discretion of the district court. See Carter v. Sec’y, Dep’t of Homeland

    Sec., No. 608-CV-48-ORL-31KRS, 2008 WL 1805486, at *1 (M.D. Fla. Apr. 18,

    2008) (citing Roofing & Sheet Metal Servs., Inc. v. La Quinta Motor Inns, Inc.,

    689 F.2d 433, 434 (11th Cir. 1983) (per curiam)).

          While CRST asserts that dismissal is appropriate, it alternatively

    requests that the Court transfer venue to the Northern District of Iowa, Cedar

    Rapids Division. (Doc. 28 at 20). The EEOC requests that the Court transfer

    the case to Iowa if the Court finds that venue is not proper here. (Doc. 32 at 18).


          8 Despite its failure to allege venue in the Amended Complaint under
    these prongs of the venue statute, the EEOC addresses them in the response to
    the motion to dismiss or transfer. Even if the Court were to consider the EEOC’s
    arguments, they are unpersuasive.


                                            13
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 14 of 15 PageID 255



    As the EEOC’s claims could have been brought in the Northern District of Iowa

    under § 2000e-5(f), the Court will transfer this action there.

          Accordingly, it is hereby

          ORDERED:

          1.    Defendants CRST Expedited, Inc. and CRST International, Inc.’s

    Motion to Dismiss for Improper Venue or Alternatively to Transfer This Case

    to the Northern District of Iowa (Doc. 28) is GRANTED in part and DENIED

    in part. Defendants’ request that the action be dismissed for improper venue

    is DENIED, but their alternative request that the action be transferred is

    GRANTED.

          2.    Pursuant     to   28   U.S.C.    §   1406(a),   this   case   is   hereby

    TRANSFERRED to the United States District Court for the Northern District

    of Iowa, Cedar Rapids Division.

          3.    The Clerk should terminate all pending motions and deadlines, and

    after transfer has been effectuated, close the file.

          DONE AND ORDERED in Jacksonville, Florida the 1st day of

    November, 2017.




    sj


                                            14
Case 3:17-cv-00241-TJC-JBT Document 34 Filed 11/01/17 Page 15 of 15 PageID 256



    Copies:
    Counsel of record




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